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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS
                               EAST ST. LOUIS DIVISION

 SHELLY SHEVLIN,                                 )
                                                 )
                Plaintiff,                       )
                                                 )
        v.                                       )          No. 18-2076-NJR-RJD
                                                 )
 BRUCE RAUNER, RANDALL                           )
 BLANKENHORN, BRUCE HARMENING,                   )
 and MATT MAGALIS,                               )
                                                 )
                Defendants.                      )

          DEFENDANT HARMENING’S ANSWER TO AMENDED COMPLAINT

        Defendant BRUCE HARMENING, by and through his attorney, Kwame Raoul, Attorney

 General for the State of Illinois, submits his answer to Plaintiff’s Amended Complaint [Doc. 14],

 stating as follows:




        ANSWER: Defendant admits the allegations in this paragraph.




        ANSWER: Defendant admits the allegations in this paragraph.




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        ANSWER: Defendant admits the allegations in this paragraph.




        ANSWER: Defendant admits the allegations in this paragraph.




        ANSWER: Defendant admits the allegations in this paragraph.




        ANSWER: Defendant admits the allegations in this paragraph.




         ANSWER: Defendants admits he was the Bureau Chief and Investigations and
 Compliance Chief for IDOT during the relevant timeframe. Defendant denies this paragraph
 states a complete and accurate description of his job titles and responsibilities during the
 relevant timeframe. Defendant denies any wrongful conduct, denies violating Plaintiff’s
 constitutional rights, and denies Plaintiff is entitled to any relief. Defendant admits the
 remaining allegations in this paragraph.




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      ANSWER: Defendant denies this Court has original jurisdiction to the extent the
 statute of limitations has expired for Plaintiff’s claim, as asserted in Defendant’s affirmative
 defenses.




      ANSWER: Defendant admits the allegations in this paragraph.




        ANSWER: Defendant admits the allegations in this paragraph.




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                                      COUNT I
                       (Wrongful Termination Against Harmening)




 ANSWER: Defendant restates and incorporates his answers to Paragraphs 1 through 10.




        ANSWER: Defendant denies Plaintiff’s termination was wrongful. Defendant admits
 the remaining allegations in this paragraph.




        ANSWER: Defendant admits the allegations in this paragraph.




        ANSWER: Defendant admits the allegations in this paragraph.




        ANSWER: Defendant admits the allegations in this paragraph.




       ANSWER: Defendant admits Plaintiff’s personnel records indicate she was
 terminated from IDOT effective September 16, 2016, for Failure to Follow Procedures,


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 Unprofessionalism, Conflict of Interest, and Ethics Violation. Defendant denies the
 remaining allegations in this paragraph.




        ANSWER: Defendant denies the allegations in this paragraph.




        ANSWER: Defendant denies this paragraph states a complete and accurate summary
 of Defendant’s interview with the OEIG, and denies the allegations in this paragraph.




        ANSWER: Defendant admits the allegations in this paragraph.




        ANSWER: Defendant denies the allegations in this paragraph to the extent they are
 directed to him. Defendant lacks knowledge or information sufficient to form a belief about
 the remaining allegations in this paragraph.




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        ANSWER: Defendant lacks knowledge or information sufficient to form a belief
 about the allegations in this paragraph.




       ANSWER: Defendant lacks knowledge or information sufficient to form a belief
 about what rebuttals Plaintiff’s presented. Defendant denies the remaining allegations in this
 paragraph.




        ANSWER: Defendant admits that according to the report of Ross Breckenridge’s
 interview with the OEIG, Breckenridge stated to OEIG investigators that he considered it
 part of Plaintiff’s human resources duties to conduct interviews and that she had years of
 experience conducting Rutan interviews. Defendant denies this paragraph states a complete
 and accurate summary of Breckenridge’s interview.




        ANSWER: Defendant lacks knowledge or information sufficient to form a belief
 about the allegations in this paragraph.




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         ANSWER: Defendant denies this paragraph states a complete and accurate summary
 of the reasons for Campbell’s 30-day suspension. Defendant admits the remaining allegations
 in this paragraph.




       ANSWER: Defendant denies the findings stated in Paragraph 25 are a complete and
 accurate summary of the reasons for Campbell’s 30-day suspension. Defendant admits the
 remaining allegations in this paragraph.




        ANSWER: Defendant denies the allegations in this paragraph.




        ANSWER: Defendant denies the allegations in this paragraph.




        ANSWER: Defendant denies the allegations in this paragraph.




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        ANSWER: Defendant denies the allegations in this paragraph.




        ANSWER: Defendant denies the allegations in this paragraph.




         ANSWER: Defendant denies the allegations in this paragraph and denies Plaintiff is
 entitled to any relief.




        ANSWER: Defendant denies the allegations in this paragraph, denies any wrongful
 conduct, denies violating Plaintiff’s constitutional rights, and denies Plaintiff is entitled to
 any relief.


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                                          COUNT II
                             (Wrongful Termination Against Rauner)

        On March 29, 2019, Defendants Rauner, Blankenhorn, and Magalis filed a motion to
 dismiss Counts II, III, and IV of Plaintiff’s Amended Complaint. [Doc. 16]. The motion is
 currently pending before the Court. Should the Court deny the motion, Defendants will
 answer Count II.

                                          COUNT III
                             (Wrongful Termination Against Magalis)

        On March 29, 2019, Defendants Rauner, Blankenhorn, and Magalis filed a motion to
 dismiss Counts II, III, and IV of Plaintiff’s Amended Complaint. [Doc. 16]. The motion is
 currently pending before the Court. Should the Court deny the motion, Defendants will
 answer Count II.

                                         COUNT IV
                          (Wrongful Termination Against Blankenhorn)

        On March 29, 2019, Defendants Rauner, Blankenhorn, and Magalis filed a motion to
 dismiss Counts II, III, and IV of Plaintiff’s Amended Complaint. [Doc. 16]. The motion is
 currently pending before the Court. Should the Court deny the motion, Defendants will
 answer Count II.

                                          JURY DEMAND

        Defendant demands a trial by jury.

                                   AFFIRMATIVE DEFENSES

        1.      At all times relevant herein, Defendant acted in good faith in the performance of

 his official duties and without violating Plaintiff’s clearly established statutory or constitutional

 rights of which a reasonable person would have known. Defendant is, therefore, protected from

 suit by the doctrine of qualified immunity.

        2.      Plaintiff’s claims for injunctive relief are barred by the Eleventh Amendment

 because Defendant’s actions did not violate Plaintiff’s constitutional rights, and so there is no

 ongoing constitutional violation for which Plaintiff may receive injunctive relief.




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        3.      All claims against Defendant filed more than two years from the date of accrual

 are barred by the statute of limitations.

        WHEREFORE, Defendant requests the Court deny Plaintiff’s requested relief and enter

 judgment for Defendant.



                                                 Respectfully submitted,

                                                 BRUCE HARMENING,

                                                     Defendant,

                                                 KWAME RAOUL, Illinois Attorney General,
 Anupama Paruchuri, #6302715
 Assistant Attorney General                          Attorney for Defendant,
 500 South Second Street
 Springfield, Illinois 62701
 (217) 557-7081 Phone                            By: s/Anupama Paruchuri
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 aparuchuri@atg.state.il.us                        Assistant Attorney General




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

 SHELLY SHEVLIN,                                 )
                                                 )
               Plaintiff,                        )
                                                 )
        v.                                       )          No.    18-2076
                                                 )
 BRUCE RAUNER, RANDALL                           )
 BLANKENHORN, BRUCE HARMENING,                   )
 MATTMAGALIS, and ILLINOIS                       )
 DEPARTMENT OF TRANSPORTATION,                   )
                                                 )
               Defendants.                       )

                                CERTIFICATE OF SERVICE

        I hereby certify that on April 26, 2019, the foregoing document, Defendant Harmening’s

 Answer to Plaintiff’s Amended Complaint, was electronically filed with the Clerk of the Court

 using the CM/ECF system which will send notification of such filing(s) to the following:

        Ronald J. Abernathy:          rjabernathy@abernathyfirm.com




                                                     Respectfully Submitted,

                                                       s/Anupama Paruchuri
                                                     Anupama Paruchuri, #6302715
                                                     Assistant Attorney General
                                                     Attorney for Defendants
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